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The JS-44 ciy and the information containe in neither replace nor supplement the filing and service adings or other papers as required by law, except as
provided by Rca Ids Of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpo: Thi g the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM )
IL FFS DEFENDANTS
Capital Markets, LLC UBS Warburg, Inc.; UBS Warburg Real Estate Securities, Inc.;
UBS Paine Webber, Inc.; and
PaineWebber Mortgage Acceptance Corporation V
(b) COUNTY OF RESIDENCE OF FIRST LISTED COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF Dallas County, TX _ DEFENDANT
(EXCEPT IN U.S. PLAINTIFF CASES) ” \ (IN U.S. PLAINTIFF CASES ONLY)
4 NOTE IN LAND CONDEMNATION CASES, USE THE
\ LOCATION OF THE TRACT OF LAND
= \ INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, AND \ ATTORNEYS (IF KNOWN)
TELEPHONE NUMBER) : \ ‘
R. Laurence Macon 9 AME es 5 oe ce 4 5
l : \ ' / 4 A.
Akin Gump Strauss Hauer & Feld LLP ool ' . .
1700 Pacific Avenue, Suite 4100 .
Dallas, TX 75201
(214) 969-2800
II BASIS OF JURISDICTION (PLACE AN "X" IN ONE BOX ONLY) III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN "X" IN ONE
(For Diversity Cases Only) BOX FOR PLAINTIFF AND
ONE BOX FOR DEFENDANT)
PTF DEF PTF DEF
0 1: U.S, Government KI 3 Federal Question
Plaintiff (U.S. Government Not a Party) Citizenship of This State 1] 1 (1 1 Incorporated or Principal Place
of Business In This State O404
(1) 2 U.S. Government OO 4 Diversity Citizen of Another State 1] 2 1] 2 ImcorporatedandPrincipal [05 (1 5
Defendant (Indicate Citizenship of Parties Place of Business In Another
in Item III) State
Citizen or Subject ofa [13 (13 _ Foreign Nation Oeé 06
Foreign Country
IV. NATURE OF SUIT (PLACE AN "X" IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY O 610 Agriculture ( 422 Appeal 28 USC 158 2 400 State Reapportionment
OO 120 Marine 0 310 A:rpiane (1) 362 Personal Injury- O01 620 Other Food & Drug (1 410 Antitrust
1 130 Miller Act 7 315 Arplane Product Med Malpractice 01 625 Drug Related Seizure 0) 423 Withdrawal CJ 430 Banks and Banking
1 140 Negotiable Instrument Liability 1 365 Personal Injury- of Property 21 USC 881 28 USC 157 0 450 Commerce/ICC Rates/etc
0 150 Recovery of Overpayment 0) 320 Assault, Libel & Product Liability 00 630 Liquor Laws O 460 Deportation
& Enforcement of Judgment Slander 1 368 Asbestos Personal D 64oRR & Truck PROPERTY RIGHTS O1 470 Racketeer Influenced and
(] 151 Medicare Act 1 330 Federal Employ Injury Product 0 650 Airline Regs Corrupt Organizations
1 182 Recovery of Defaulted ers’ Liability Liability (1 660 Occupational C] 820 Copyrights OF 810 Selective Service
Student Loans OD 340 Marine PERSONAL PROPERTY Safety/Health (1 830 Patent EI 850 Securities/Commodities/
(Excl Veterans) (9 345 Marine Product 1 370 Other Fraud O 690 Other 0) 840 Trademark Exchange
© 153 Recovery of Overpayment Liability 0 371 Truth m Lending 0) 875 Customer Challenge 12
of Veteran's Benefits O1 380 Motor Vehicle C 380 Other Personal LABOR SOCIAL SECURITY USC 3410
0 160 Stockholders' Suits 355 Motor Vehicle Property Damage O 891 Agricultural Acts
1 190 Other Contract Product Liability 1 385 Property Damage 0 710 Fair Labor Standards C1 861 HIA (13958) (2 892 Economic Stabilization Act
O1 195 Contract Product Liability O 360 Other Personal Injury Product Liability Act © 862 Black Lung (923) 1 893 Environmental Matters
DO 720 Labor/Mgmt C1 863 DIWC/DIWW (405(g)) | C2 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Relations LI 864 SSID Title XVI DD) 895 Freedom of
D1 730 Labor/Mgmt O 865 RSI (405(g)) Information Act
O 210 Land Condemnation O 441 Voting 1 5310 Motions to Reporting & Disclo- 1 900 Appeal of Fee
O) 220 Foreclosure Q) 442 Employment Vacate Sentence sure Act FEDERAL TAX SUITS Determination Under Equal
C1 230 Rent Lease & Ejectment O 443 Housing/ Habeus Corpus OO 740 Railway Labor Act Access to Justice
O 240 Torts to Land Accommodations 0 530 General DD 790 Other Labor OD) 870 Taxes (US Plamuff O 950 Constitutionality of
0) 245 Tort Product Liability O 444 Welfare D0 535 Death Penalty Litigation or Defendant) State Statutes
OF 290 All Other Rea! Property O) 440 Other Civil Rights 0 540 Mandamus & Other 1 791 Empl Ret Inc D 871 IRS - Third Party C1 890 Other Statutory Actions
1) 550 Civil Rights Security Act 26 USC 7609
( 555 Prison Condition
Vv. ORIGIN (PLACE AN "X" IN ONE BOX ONLY) Appeal to
Transferred from District Judge
J Onginal (2 Removed from [] 3 Remanded from ( 4 Reinstated or 1 5 another district (] 6 Multidistrict [1 7 from Magistrate Judge
Proceeding State Court Appellate Court Reopened. (specify) Litigation

 

VI. CAUSE OF ACTION

(Cite the US Civil Statute under which you are filing and write brief statement of cause
Do not cite jurisdictional statutes unless diversity )

Violation of securities laws, including 15 U.S.C. § 78j; 17 C.F.R. § 240.10b-5; 15 U.S.C. § 78t; 15 U.S.C. § 771; 15 U.S.C. § 770

 

 

 

 

VII. REQUESTED IN {1 CHECK IF THIS IS A CLASS ACTION DEMAND $616,668,0000 CHECK YES only if demanded in complaint
COMPLAINT: UNDER FRCP 23 JURY DEMAND: ® YES O NO
VIII. RELATED CASE(S) (See instructions) '
IF ANY
Ojo) 02. B. bn— WM—
DATE I SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG JUDGE
gw UNITED STATES DISTRICT COURT RiLig

 

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US, PHSTRICT COURT

 
 
 

 
 

 

 

 

 

 

 

 

 

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9 FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION ocT | 0 2002
§ 3 Tay ATM
ORIX CAPITAL MARKETS, LLC § oe KK, U.S. DISTRICT COURT
§ Deputy
Plaintiffs §
§
Vv. § Civil Action No.:
§ ‘ “se go fs & ae AY
UBS WARBURG, INC., § PZ E 2
UBS WARBURG REAL ESTATE SECURITIES §
INC., UBS PAINEWEBBER, INC., AND §
PAINEWEBBER MORTGAGE §
ACCEPTANCE CORPORATION V, §
§
Defendants. §

PLAINTIFF’S COMPLAINT — CLASS ACTION
TO THE HONORABLE JUDGE OF THIS COURT:

ORIX Capital Markets, LLC on its own and acting in its capacity as Servicer and Special
Servicer for Trustee LaSalle Bank, National Association brings this action against Defendants
UBS Warburg, Inc., UBS Warburg Real Estate Securities Inc., UBS PaineWebber, Inc., and
PaineWebber Mortgage Acceptance Corporation V (collectively “Defendants’’) and pleads as
follows:

SUMMARY OF THE ACTION
1. This case concerns Defendants’ securities fraud made in connection with a transaction
transferring commercial mortgage loans to a trust administered by LaSalle Bank National

Association and serviced by Plaintiff ORIX. The Trust is a Delaware trust evidenced by

a June 1, 1999 Pooling and Servicing Agreement. The holders of the Trust certificates

are referred to as the Certificateholders. Plaintiff brings this case as a Certificateholder,

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in its representative capacity as Special Servicer of the Trust, and also as a class action
under Federal Rule of Civil Procedure 23. Plaintiff seeks rescission of trust certificates
and other relief under the securities laws.

THE PARTIES

2. Plaintiff ORIX Capital Markets, LLC (“ORIX’”) (f/k/a BancOne Mortgage Capital
Markets, L.L.C. (BancOne) is a Delaware limited liability company with its principal
place of business at 1717 Main Street, 9th Floor, Dallas, Texas 75201. ORIX brings this
action for itself and for the Certificateholders in its capacity as Servicer and Special
Servicer for the Trust.

3. Defendants UBS Warburg, Inc., UBS Warburg Real Estate Securities Inc. (f/k/a Paine
Webber Real Estate Securities, Inc. (“Paine Webber”)), and UBS PaineWebber, Inc.
(f/k/a PaineWebber, Inc.) (collectively the “UBS Entities”) are Delaware corporations
with their principal place of business at 1285 Avenue of the Americas, New York, New
York 10019. The UBS Entities may be served with process by serving their registered
agent Corporation Service Company (d/b/a CSC Lawyers Incorporating Service Co.), 800
Brazos, Austin, Texas 78701. On information and belief, among their business lines, the
UBS Entities, and, at the time of the transactions detailed in this Complaint, Paine
Webber and PaineWebber, Inc., originate(d) loans and securitize(d) them. On or about
November 3, 2000, the ultimate parent of PaineWebber, Inc. and Paine Webber merged
with UBS AG. On information and belief, through one or more subsequent transfers,
some portion of the liability of Paine Webber and PaineWebber, Inc. was retained by

UBS Warburg, Inc., a subsidiary of UBS AG.

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4. Defendant PaineWebber Mortgage Acceptance Corporation V is a Delaware corporation
with its principal place of business at 1000 Harbor Blvd., Weehawken, New Jersey
07086. PaineWebber Mortgage Acceptance Corporation V may be served with process
by serving its registered agent Corporation Service Company, 80 State Street, Albany,
New York 12207-2543. On information and belief, PaineWebber Mortgage Acceptance
Corporation V, among its current business lines (and at all times relevant to this
Complaint), originates and securitizes loans.

VENUE AND JURISDICTION

5. The Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. § 1331
because this is a civil action arising under the laws of the United States.

6. Personal jurisdiction over the Defendants exists in this Court because Defendants do
significant business in this state, including but not limited to their activities related to the
transaction that forms the basis of this Complaint.

7. Venue is appropriate in this Court because a substantial part of the events giving rise to
the claims asserted in this Complaint occurred in Dallas County, Texas. Specifically,
Defendants solicited Plaintiff ORIX to purchase certificates in the Trust in Dallas
County, Texas, and ORIX has serviced the loan pool from Dallas County, Texas.

BASIS FOR REPRESENTATIVE ACTION

8. The Pooling and Servicing Agreement provides that ORIX as Master Servicer or Special
Servicer may in its discretion undertake any such action which it may deem necessary or
desirable with respect to the enforcement and/or protection of the interests of the
Certificateholders under the Pooling and Servicing Agreement. See PSA § 6.03.

Similarly, Paine Webber’s Mortgage Loan Purchase Agreement acknowledges that the

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representations, warranties and agreements made by Paine Webber are made for the
benefit of, and may be enforced by or on behalf of, the Trustee and the Certificateholders
to the same extent that the Purchaser has rights against Paine Webber under the Mortgage
Loan Purchase Agreement. See MLPA § 5.3.
Class Action Allegations

9. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure
23(a) and (b)(3) on behalf of a Class, which consists of all persons who purchased or
otherwise acquired PaineWebber Mortgage Acceptance Corporation V Commercial
Mortgage Pass-Through Certificates, Series 1999-C1 and received the Prospectus and
Prospectus Supplement described herein. Excluded from the Class are: the defendants,
members of the immediate family of the defendants, individual defendants, former
officers and directors of Defendants and any entity in which any defendant has or had a
controlling interest, and the legal representatives, heirs, successors, or assigns of any
defendant. The Class Period includes the initial offering of the Certificates.

10. Plaintiff does not know the full size of the Class, but on information and belief, the
members of the Class are so numerous that joinder of all members is impracticable.
Class members are located nationwide.

11. Plaintiff's claims are typical of the claims of the members of the Class in that the Plaintiff
and each Class member purchased or otherwise obtained certificates during the Class
Period in an artificially inflated market and sustained injury as a result. Plaintiff and each
Class member relied on the integrity of Defendants’ representations in a few commonly

held documents in making these purchases.

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12. Plaintiff will fairly and adequately protect the interests of the members of the Class and
has retained counsel competent and experienced in class action and securities litigation.

13. Aclass action is superior to other available methods for the fair and efficient adjudication
of this controversy as joinder of all class members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, the expense and
burden of individual litigation makes it impossible for the Class members to seek redress
individually for the wrongs done to them. There will be no difficulty in the management
of this action as a class action.

14. | Common questions of law and fact exist as to all members of the Class and predominate
over any questions affecting solely individual members of the Class. Among the
questions of law and fact common to the Class are:

a. whether federal securities laws were violated by the Defendants’ acts
and/or omissions;

b. whether statements made by the Defendants to the investing public during
the Class Period omitted and/or misrepresented material facts;

c. whether the Defendants participated in and pursued a fraudulent scheme
and the common course of conduct complained of herein;

d. whether the Defendants acted willfully or recklessly in omitting to state
and/or misrepresenting material facts;

e. whether Defendants’ statements during the Class Period were recklessly
made about the business, operations, finances, value, stock, and prospects of the
Borrowers in the Loan Pool;

f. whether the price of the certificates during the Class Period was artificially
inflated due to non-disclosures and/or misrepresentations complained of herein;
and

g. whether the plaintiff and other members of the Class were damaged and, if

so, the proper measures thereof.

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THE TRANSACTIONS

The Confidential Offering Memorandum, Prospectus, and Prospectus Supplement

In 1999, PaineWebber Mortgage Acceptance Corporation V, Paine Webber, and
PaineWebber, Inc. took steps to establish the Trust. The Trust would be established
through a Pooling and Servicing Agreement, which would create a pool of loans for
securitization. The loans for the pool would be purchased under Mortgage Loan
Purchase Agreements with Paine Webber and Merrill Lynch Mortgage Capital, Inc.
(“Merrill Lynch”). The Mortgage Loan Purchase Agreement with Paine Webber makes
it abundantly clear that Paine Webber originated the loans it supplied to the loan pool for
the express purpose of securitization. Interests in the pool of loans were to be offered
simultaneously to public and private investors, all of whom would be provided with a
prospectus and prospectus supplement.

In or around June 1999, as part of this integrated offering, Defendant PaineWebber Inc.
and Merrill Lynch & Co. prepared and sent to the Certificateholders by instrumentalities
of interstate commerce the Prospectus dated March 25, 1999 (the “Prospectus’”) and the
Prospectus Supplement to Prospectus dated June 1, 1999 (“Prospectus Supplement”).

In or around June 1999, as part of this integrated offering, Defendant PaineWebber Inc.
and Merrill Lynch & Co. prepared and sent to ORIX by instrumentalities of interstate
commerce a June 7, 1999 Confidential Offering Memorandum (“COM”), along with the
Prospectus and Prospectus Supplement.

The COM offered ORIX the opportunity to purchase Privately Offered Certificates,
which evidenced beneficial ownership in the Trust consisting primarily of a pool of

conventional, fixed-rate mortgage loans secured by 193 commercial and multifamily

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properties. The Prospectus offered the Certificateholders the opportunity to purchase
publicly traded certificates evidencing beneficial ownership in the same Trust.

On information and belief, on June 1, 1999, pursuant to the COM, Prospectus, and
Prospectus Supplement, the Certificateholders paid approximately $616,668,000 for
various classes of PaineWebber Mortgage Acceptance Corporation V Commercial
Mortgage Pass-Through Certificates, Series 1999-C1, with Plaintiff ORIX (f/k/a BANC
ONE) purchasing the classes of PaineWebber Mortgage Acceptance Corporation V
Commercial Mortgage Pass-Through Certificates, Series 1999-C1 set forth on the
Certification of Named Plaintiff attached to this Complaint.

The Confidential Offering Memorandum, Prospectus,
and Supplemental Prospectus Representations

In the COM, Prospectus, and Prospectus Supplement, PaineWebber Inc., Merrill Lynch

& Co., and PaineWebber Mortgage Acceptance Corporation V represented that:

a. “The Mortgage Loans sold to the Depositor by PWRES [Paine Webber Real Estate
Securities Inc.] were generally underwritten in accordance with the underwriting
criteria described under ‘- PWRES Underwriting Standards.’” Pro. Supp. at S-41.

b. “Each Mortgaged Property sold to the Depositor was inspected by either (a) a
member of PWRES’ professional staff or by a direct agent PWRES, in the case of a
Mortgage Loan sold by PWRES. [...] No inspection revealed any patent structural
deficiency or any deferred maintenance considered material and adverse to the
interests of the holders of the Offered Certificates or for which adequate reserves
have not been established.”” Pro. Supp. at S-66.

c. “Replacement reserves were calculated in accordance with the expected useful life of

the components of the related Mortgaged Property [...] The useful life and cost of

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replacements were based upon estimates provided by professional engineers pursuant
to building condition reports completed for each Mortgaged Property, subject to
certain minimum underwritten replacement reserves which are described under the
heading ‘Escrow Requirements’ set forth under ‘PWRES’ Underwriting Standards’.”
Pro. Supp. at S-65.

d. “All of the Mortgaged Properties were appraised in connection with the origination of
the related Mortgage Loans. Each such appraisal was in compliance with the Code of
Professional Ethics and Standards of Professional Practice of the Appraisal Institute
and/or the Uniform Standards of Professional Appraisal Practice as adopted by the
Appraisal Standards Board of the Appraisal Foundation.” Pro. Supp. at S-66.

e. “In connection with the origination of each Mortgage Loan, a professional engineer,
licensed architect or qualified consultant inspected each related Mortgaged Property
to assess the condition of the structure, exterior walls, roofing, interior structure and
mechanical and electrical systems. The resulting reports indicated whether deferred
maintenance items on certain Mortgaged Properties was required and it recommended
certain capital improvements for which reserves were generally established at
origination.” Pro. Supp. at S-66.

f. “The Mortgage Loans originated by PWREI [PW Real Estate Investments Inc.] and
such third-party originators and sold by PWRES to the Depositor were generally
underwritten to PWRES guidelines as set forth below [...] In some instances, one or
more provisions of the underwriting guidelines were waived or modified where it was
determined by PWRES not to adversely affect such Mortgage Loans in any material

respect.” Pro. Supp. at S-67.

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g. “In underwriting a mortgage loan, PWRES evaluates the borrower-provided property
financial statements and rent rolls. Additionally, property operating history, industry
data regarding the local real estate market and an independent appraisal are
reviewed.” Pro. Supp. at S-67.

PaineWebber Inc., Merrill Lynch & Co., and PaineWebber Mortgage Acceptance

Corporation V also represented that “Each Mortgage Loan Purchase and Sale Agreement

shall obligate the related Mortgage Loan Seller to cure any breach of its representations

and warranties (or a missing or defective document in the mortgage file) that materially

and adversely affects the interests of the Trust in such Mortgage Loan.” Pro. Supp. at S-

71.

Indeed, PaineWebber Inc., Merrill Lynch & Co., and PaineWebber Mortgage Acceptance

Corporation V emphasized their and the future Certificateholders’ reliance on the

representations and warranties of each Mortgage Loan Seller, including Paine Webber:

“The Depositor make no representations or warranties with respect to the Mortgage

Loans and will have no obligation to repurchase or substitute for defective Mortgage

Loans. Each Mortgage Loan Seller is selling the Mortgage Loans sold by it without

recourse, and, accordingly, will have no obligations with respect to the Certificates other

than pursuant to the limited representations, warranties and covenants made by it to the

Depositor and assigned by the Depositor to the Trustee for the benefit of the

Certificateholders.” Pro. Supp. at S-71.

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The Mortgage Loan Purchase Agreement and Representations

Paine Webber transferred the loans to PaineWebber Mortgage Acceptance Corporation V

(which transferred the loans to the Trust) under a June 1, 1999 Mortgage Loan Purchase

Agreement.

Under the Mortgage Loan Purchase Agreement, Paine Webber made representations and

warranties about the characteristics of the loans transferred. Paine Webber agreed that

these representations and warranties were for the Certificateholders’ benefit, and that

ORIX, as Servicer and as Special Servicer, could enforce the representations and

warranties on the Certificateholders’ behalf.

Specifically, Paine Webber represented and warranted that:

a.

“The Mortgage Loan Seller has not withheld any material information with
respect to the Mortgage File;” See MLPA 3.2.(a)(v);

“The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2.(b)(ii);

“(A) Neither the Mortgage Loan Seller, nor, to the Mortgage Loan Seller’s best
knowledge, (1) any originator other than the Mortgage Loan Seller or (2) the
Mortgagor, committed any fraudulent acts during the orientation process of any
Mortgage Loan, ... and (C) to the best of the Mortgage Loan Seller’s knowledge,
(1) the origination of each Mortgage Loan purchased by the Mortgage Loan Seller
and (2) the servicing and collection of each Mortgage Loan is in all material

respects legal, proper and prudent in accordance with customary industry

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standards utilized by prudent institutional and commercial mortgage lenders or
loan servicers as appropriate.” See MLPA 3.2.(b)(i11);

d. Immediately prior to the sale of the Mortgage Loan to the Depositor, the
Mortgage Loan Seller had good and marketable title to and was the sole owner
and holder of each Mortgage Loan, and the assignment validly transferred its
ownership of the Mortgage Loan, free and clear of any and all liens, pledges and
other encumbrances.” See MLPA 3.2.(b)(iv);

e. “There is no material default, breach, violation or event of acceleration existing
under the related Mortgage or Mortgage Note, and to the Mortgage Loan Seller’s
knowledge, there is no event ... which, with the passage of time or with notice
and the expiration of any grace or cure period, would constitute such a default,
breach, violation or event of acceleration.” See MLPA 3.2.(b)(v1);

f. “To the knowledge of [Paine Webber], as of the Closing Date, there is no pending
action, suit or proceeding, arbitration or governmental investigation against a
Mortgagor or Mortgaged Property, an adverse outcome of which would materially
and adversely affect such Mortgagor’s ability to perform under the related
Mortgage Loan.” See MLPA 3.2.(b)(ix);

g. “Each Mortage is a valid and enforceable first lien on the related Mortgage
Property subject only to ... (B) covenants, conditions and restrictions, rights of
way, easements and other matters of public record, none of which, individually or
in the aggregate, materially interferes with the current use of the Mortgage

Property or the security intended to be provided by such Mortgage or with the

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related Mortgagor’s ability to pay its obligations when they become due or the
value of the Mortgaged Property.” See MLPA 3.2.(b)(xxiv);

h. “The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2.(b)(xxvi);

1. “To [Paine Webber]’s knowledge, based upon a site inspection conducted in
connection with the origination of the Mortgage Loan and a review of the related
engineering report, each related Mortgage Property is free and clear of any
material damage that would affect materially and adversely the value of such
Mortgaged Property as security for the Mortgage Loan[.]” See MLPA
3.2.(b)(xxxviil);

j- “The improvements located on or forming part of each Mortgaged Property
comply with applicable zoning and building laws, ordinances and regulations, or

.. if any such improvement does not so comply, such non-compliance does not
materially and adversely affect the value of the related Mortgaged Property.” See
MLPA 3.2.(b)(xli);

k. ‘(T]he appraisal and appraiser both satisfy the requirements of the ‘Uniform
Standard of Professional Appraisal Practice’ as adopted by the Appraisal
Standards Board of the Appraisal Foundation, all as in effect on the date the
Mortgage Loan was originated. See MLPA 3.2.(b)());

1. “With respect to each Mortgage Loan originated by a correspondent of the [Paine
Webber] and purchased or “table funded” by [Paine Webber] in connection with a

correspondent relationship with such originator ... (A) such Mortgage Loan was

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underwritten substantially in accordance with standards established by [Paine
Webber], (which standards are in all material respects the same as the
underwriting standards for Mortgage Loans originated by [Paine Webber]); ... (C)
the closing documents (which include assignment documents executed by the
Mortgage Loan originator in favor of [Paine Webber]) for the Mortgage Loan
were prepared in substantial compliance with forms approved by [Paine Webber]
as the successor and assign to the Mortgage Loan originator.” See MLPA
3.2.(b)(Ivi); and

“Fach Mortgage Loan originated by [Paine Webber] was underwritten consistent
in all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial
mortgage conduit lending standards.” See MLPA 3.2.(b)(Ivii).

THE REALITY: DOOMED LOANS; DEFENDANTS’

MISREPRESENTATIONS, OMISSIONS, AND SUBSEQUENT COVER-UP
Defendants made material misrepresentations and omissions regarding the loans that
Paine Webber sold to the Trust as a Mortgage Loan Seller.

Compared to all loans in the Loan Pool, the Paine Webber loans have disproportionately
gone into default or required special attention, and have later been found not to meet the
standards represented in the COM, Prospectus Supplement, and the Mortgage Loan
Purchase Agreement.

These problems, and the subsequent investigation by ORIX as the Trust’s Servicer and

Special Servicer, demonstrate that Paine Webber:

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a. Did not perform underwriting conforming to the representations made in the
COM, Prospectus Supplement, and the Mortgage Loan Purchase Agreement;
b. Waived or modified underwriting guidelines that adversely affected loans in the
Loan Pool in a material respect; and
c. Failed to evaluate Borrowers and Borrowers’ principals with respect to their
financial capacity to meet obligations, credit history, and prior experience as
owners and operators of commercial property.
Paine Webber failed to disclose that its practices in making the loans to be placed by it in
the Trust and to be underwritten and offered to investors by its affiliate, PaineWebber
Inc., did not conform to industry standards and, in fact, affirmatively misrepresented the
quality of the loans that it deposited in the Trust. These affirmative misrepresentations:
(1) were made by Paine Webber in the MLPA for the purpose of inducing the Trust to
accept the loans and issue the Certificates and with the intent to induce Certificateholders
to purchase the Certificates; (2) were incorporated by Paine Webber’s affiliate,
PaineWebber Inc. in the Prospectus, Prospectus Supplements, and COM without
modification or correction for the purpose of inducing investors to purchase Certificates,
and (3) have not been corrected by the Defendants.
Defendants concealed their fraud by failing to provide ORIX with relevant documents,
even those documents ORIX needed to perform its duties as servicer under the Pooling
and Servicing Agreement. Defendants failed to produce documents related to the
underwriting of loan files as required by the Pooling and Servicing Agreement, which
required Trustee LaSalle Bank, N.A. to file suit on March 28, 2002 against UBS Warburg

Real Estate Securities to obtain such documents.

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Indeed, it was only through litigation against other borrowers in default, both related to
this loan pool and another loan pool, that ORIX has discovered a pattern of Defendants
making material misrepresentations and omissions concerning the loan pool. Plaintiff did
not know, and in the exercise of reasonable diligence could not have known before
October 15, 2000, of Defendants’ pattern and practice of failing to follow proper
underwriting procedures and of misrepresenting the quality of the loans placed by Paine
Webber in the Trust and of the falsity of the representations made by Paine Webber and
PaineWebber, Inc. in connection with the offer and sale of the securities.

By way of example, and not by limitation, Defendants made material misrepresentations
and omissions regarding loans made to Gateway Factory Outlet Center, L.P. and to P &

D Investments, Inc.

PAINE WEBBER’S LOAN TO GATEWAY FACTORY OUTLET CENTER, L.P.

The Loan Underwriting

Gateway Factory Outlet Center Limited Partnership (“Gateway” or “Borrower’) is a
Washington limited partnership with its registered office in Bellevue, Washington.

Ward Cook, Inc. (“Ward Cook”) is an Oregon corporation with a principal office in
Portland, Oregon. Among its business lines, Ward Cook originates and securitizes
commercial loans.

On or about August 24, 1998, Ward Cook made a loan in the original principal amount
of $7,725,000 (the “Loan’”) to Gateway. As evidence of the indebtedness resulting from
the Loan, Gateway made, executed and delivered to Ward Cook a Deed of Trust Note

(the “Note”) in the original principal amount of $7,725,000.

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The Loan was secured by, inter alia, a Deed of Trust, Security Agreement and
Assignment of Leases and Rents (the “Deed of Trust” or ““Mortgage’’), dated as of August
24, 1998.
In or about August 1998, Ward Cook assigned the Note, the Deed of Trust and other loan
documents to Paine Webber pursuant to an Assignment of Note, Deed of Trust, Leases
and Rents and Loan documents.
Transfer of the Loan to the Trust
In or about June 1999, PaineWebber Mortgage Acceptance Corporation V agreed to
purchase certain loans Paine Webber originated that conformed to certain criteria
specified in the Mortgage Loan Purchase Agreement. Effective as of June 1, 1999, Paine
Webber transferred the Loan to PaineWebber Mortgage Acceptance Corporation V
pursuant to the Mortgage Loan Purchase Agreement.
The same day and pursuant to the Pooling and Servicing Agreement, PaineWebber
Mortgage Acceptance Corporation V, as Depositor, transferred the Loan to LaSalle Bank,
N.A. as Trustee for the certificateholders of the Trust.
The Failed Loan
Lack of Public Utilities at the Peace Arch Factory Outlet
The property used to secure Gateway’s Mortgage is property located in Whatcom
County, Washington, and is known as the Peace Arch Factory Outlet Center — Phase I
(‘the Property”), which is where Gateway operates a factory outlet center by leasing

space to retail tenants.

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The Property has never been serviced with public water and sewer utility services. The
Property is serviced by a private septic system and a private water well, which is over a
mile from the Property and not owned by Gateway.

Furthermore, Gateway currently has no legal right to enter upon these private lands and
public rights-of-way for purposes of making necessary repairs to the water pipes. As a
result, Gateway would bear the full cost of removing and relocating the waterlines if
mandated by the County to accommodate road widening or other improvements.

On September 9, 1992, Gateway’s principal executed a Declaration of Restrictions and
Grant of Easements for Water System (the “Declaration”). The Declaration refers to
Gateway being able to draw water from a well located on the property. While such a well
exists, it has always been dry, capped, and nonfunctioning. However, the existence of
this well as a functioning source of water was relied upon in the Property survey, title
report, appraisal, and environmental reports issued by Ward Cook’s consultants in
connection with closing the loan.

Ward Cook and Paine Webber had every opportunity to inspect the Property and
determine that a functioning well did not exist. Furthermore, Gateway made Ward Cook
and Paine Webber fully aware of the erroneous claim that a functioning well existed on
the Property. Despite this knowledge, the documentation prepared in conjunction with
the loan continued to reference the existence of a functioning well on the Property.

These events ran contrary to Defendants’ representations and/or constituted omissions of
material facts necessary in order to make the statements made, in light of the

circumstances in which they were made, not misleading. Specifically:

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Defendants represented that no covenants, conditions and restrictions, rights of
way, easements or other matters of public record, individually or in the aggregate,
materially interfered with the use of the Property or the security intended to be
provided by Gateway or with the Gateway’s ability to pay its obligations when
they become due or the value of the Property.

Defendants represented that the terms of the loan documents complied in all
material respects with all requirements of applicable local, state or federal law.
Defendants represented that based upon a site inspection conducted in connection
with the origination of the Loan and a review of the related engineering report, the
Property is free and clear of any material damage that would affect materially and
adversely the value of the Property as security for the Loan.

Defendants represented that the improvements located on or forming part of the
Property complied with applicable zoning and building laws, ordinances and
regulations, or if such improvement did not so comply, such non-compliance did
not materially and adversely affect the value of the Property.

Defendants represented that the appraisal and appraiser both satisfied the
requirements of the Uniform Standard of Professional Appraisal Practice as
adopted by the Appraisal Standards Board of the Appraisal Foundation, all as in

effect on the date the Loan was originated.

Paine Webber not only failed to disclose material facts about the Property, but sought to

cover them up by making representations and warranties in the MLPA that:

“(A) Neither the Mortgage Loan Seller, nor, to the Mortgage Loan Seller’s best

knowledge, (1) any originator other than the Mortgage Loan Seller or (2) the

PLAINTIFF’S COMPLAINT ~ page 18
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Mortgagor, committed any fraudulent acts during the orientation process of any
Mortgage Loan, ... and (C) to the best of the Mortgage Loan Seller’s knowledge,
(1) the origination of each Mortgage Loan purchased by the Mortgage Loan Seller
and (2) the servicing and collection of each Mortgage Loan is in all material
respects legal, proper and prudent in accordance with customary industry
standards utilized by prudent institutional and commercial mortgage lenders or
loan servicers as appropriate.” See MLPA 3.2.(b)(iii);

b. “There is no material default, breach, violation or event of acceleration existing
under the related Mortgage or Mortgage Note, and to the Mortgage Loan Seller’s
knowledge, there is no event ... which, with the passage of time or with notice
and the expiration of any grace or cure period, would constitute such a default,
breach, violation or event of acceleration.” See MLPA 3.2.(b)(vi);

The facts Defendants misrepresented and/or omitted were material in that: (1) they

demonstrated the Borrower’s financial instability and eventual inability to make

payments on the Loan and otherwise comply with the terms of the Deed of Trust; (2) as a

result the Deed of Trust eventually went unpaid and was subject to default; and (3) the

Property securing the Deed of Trust was overvalued, or jeopardized and devalued.

The Property’s Pre-Existing Conditions and Unstable Economics

During the loan origination process, and immediately thereafter, pre-existing conditions

and events well-known to Ward Cook and Paine Webber indicated that the Property

could not produce income sufficient to timely pay off the mortgage. These pre-existing
conditions and events included: (a) the potential costs to the Property of not having all

private easements and a permanent, irrevocable easement with the County right-of-way

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for the private water transmission lines, (b) the impact of declining tenant sales (based
largely on the significant deterioration of the Canadian currency), (c) the impact of
month-to-month leases or leases with maturities of less than 18 months, (d) the impact of
rental rate discounting to allow for concessions, tenant improvements and tenant expense
caps, and (e) media (national and local) reports on the poor performance of outlet centers,
which posed a higher risk profile.

These conditions and events did not occur overnight, but instead were either pre-existing

or resulted from prolonged economic forces pre-dating the June 1999 COM, Prospectus,

and Prospectus Supplement. These conditions would have been discovered through
properly conducted underwriting in connection with the origination of the Mortgage

Loan. Despite these pre-existing conditions and events, Paine Webber warranted and

represented that:

a. “The Mortgage Loan Seller has not withheld any material information with
respect to the Mortgage File;” See MLPA 3.2.(a)(v);

b. “The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2.(b)(i1);

c. “With respect to each Mortgage Loan originated by a correspondent of the [Paine
Webber] and purchased or “‘table funded” by [Paine Webber] in connection with a
correspondent relationship with such originator ... (A) such Mortgage Loan was
underwritten substantially in accordance with standards established by [Paine
Webber}, (which standards are in all material respects the same as the

underwriting standards for Mortgage Loans originated by [Paine Webber]); ... (C)

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the closing documents (which include assignment documents executed by the
Mortgage Loan originator in favor of [Paine Webber]) for the Mortgage Loan
were prepared in substantial compliance with forms approved by [Paine Webber]
as the successor and assign to the Mortgage Loan originator.” See MLPA
3.2.(b)(1vi); and
d. Each Mortgage Loan originated by [Paine Webber] was underwritten consistent in
all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial
mortgage conduit lending standards.” See MLPA 3.2.(b)(Ivii).
The facts Defendants misrepresented and/or omitted were material in that: (1) they
demonstrated the Borrower’s financial instability and eventual inability to make
payments on the Loan and otherwise comply with the terms of the Deed of Trust; (2) as a
result the Deed of Trust eventually went unpaid and was subject to default; and (3) the
Property securing the Deed of Trust was overvalued, jeopardized, and devalued.
PAINE WEBBER’S LOAN TO P & D INVESTMENTS, INC.
The Loan Underwriting
P & D Investments, Inc. (“P & D” or the “Borrower’) is a North Carolina corporation
with its registered office in Charlotte, North Carolina.
On or about July 7, 1998, Paine Webber made a loan in the original principal amount of
$1,600,000 (the ““Loan”) to P & D. As evidence of the indebtedness resulting from the
Loan, P & D made, executed and delivered to Paine Webber a Mortgage Note (the

“Note’”) in the original principal amount of $1,600,000.

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The Loan was secured by, inter alia, a Deed of Trust, Security Agreement and
Assignment of Leases and Rents (the “Deed of Trust” or “Mortgage”), dated as of July 7,
1998.
Transfer of the Loan to the Trust
In or about June 1999, PaineWebber Mortgage Acceptance Corporation V agreed to
purchase certain loans Paine Webber originated that conformed to certain criteria
specified in the Mortgage Loan Purchase Agreement. Effective as of June 1, 1999, Paine
Webber transferred the Loan to PaineWebber Mortgage Acceptance Corporation V
pursuant to the Mortgage Loan Purchase Agreement.
The same day and pursuant to the Pooling and Servicing Agreement, PaineWebber
Mortgage Acceptance Corporation V, as Depositor, transferred the Loan to LaSalle Bank,
N.A. as Trustee for the certificateholders of the Trust.
The Failed Loan
Villager Lodge: the “Haven of Illegal Activity”
The property securing P & D’s Mortgage is located in Mecklenburg County, North
Carolina known as the Villager Lodge (“the Property”), which is where P & D operates a
110-resident motel by renting rooms on a daily and weekly basis.
Beginning as early as January 1997, the Property was subject to repeated breaches of the
peace including:
a. The Charlotte-Mecklenburg Police Department (the “Police”) receiving a total of
1,328 calls to the property from January 1997 to April 2000;
b. Police officers taking 1,204 miscellaneous reports for incidents that occurred at

the property from January 1997 to April 2000;

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c.

From January 1997 to March 2000, Police officers taking 186 offense reports that
included, but were not limited to, homicide, armed robbery, robbery, assault, and
numerous property crimes;

From January 1997 to March 2000, Police officers making 204 arrests for
incidents that included, but were not limited to, homicide, armed robbery,
ageravated assault, weapons violations, controlled substance violations,
prostitution, and sex offenses;

Medic personnel responding to 192 calls for service for incidents including
gunshot wounds, lacerations from assaults, drug overdoses, and

psychiatric/suicide attempts from September 1997 to February 2000.

Over this same time period, the Property acquired a reputation in both the law

enforcement community and the City of Charlotte in general as a marketplace for the

illegal sale and possession of controlled substances and as a haven for criminal activity

associated with the illegal sale and possession of controlled substances. In addition, prior

to April 2000, P & D received written notice from the City of Charlotte that a nuisance

was being maintained on the Property based on at least two prior occurrences within a

five year period that involved the possession of a controlled substance with the intent to

sell or the sale of controlled substances.

The culmination of these illegal activities prompted the City of Charlotte to file a

complaint against Paine Webber and P & D in June 2000 alleging violations of North

Carolina’s nuisance statute and seeking a forfeiture of the Property.

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These events ran contrary to Defendants’ representations and/or constituted omissions of

material facts necessary in order to make the statements made, in light of the

circumstances in which they were made, not misleading. Specifically:

a.

Defendants represented that there was no event which with the passage of time or
with notice and the expiration of any grace or cure period, would constitute a
material default, breach, violation or event of acceleration.

Defendants represented that, as of the Closing Date, there was no pending action,
suit or proceeding, arbitration or governmental investigation against P & D or the
Property, an adverse outcome of which would materially and adversely affect
such P & D’s ability to perform under the Loan.

Defendants represented that, based upon site inspection conducted in connection
with the origination of the Loan and a review of the related engineering report, the
Property was free and clear of any material damage that would affect materially
and adversely the value of such the Property as security for the Loan.

Defendants represented that the improvements located on or forming part of the
Property complied with applicable zoning and building laws, ordinances and
regulations, or if any such improvement did not so comply, such non-compliance

did not materially and adversely affect the value of the Property.

Furthermore, Paine Webber not only failed to disclose material facts about the Property,

but sought to cover them up by making representations and warranties in the Mortgage

Loan Purchase Agreement that:

a.

“The Mortgage Loan Seller has not withheld any material information with

respect to the Mortgage File;” See MLPA 3.2.(a)(v);

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“The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2.(b)(i1);

“The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2.(b)(xxvi); and

“Each Mortgage Loan originated by [Paine Webber] was underwritten consistent
in all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial

mortgage conduit lending standards.” See MLPA 3.2.(b)(Ivii).

The facts Defendants misrepresented and/or omitted were material in that: (1) they
demonstrated the Borrower’s financial instability and eventual inability to make
payments on the Loan and otherwise comply with the terms of the Deed of Trust; (2) as a
result the Deed of Trust eventually went unpaid and was subject to default; and (3) the

Property securing the Deed of Trust was jeopardized and devalued.

The Property’s Deteriorating Condition

Moreover, financial reports and loan files for the Property indicate that almost all of the
revenue collected at the Property was in the form of cash. A proper site inspection by
Paine Webber would have revealed the alarming rate of crime at the Property and the

high-risk nature of the pure cash based revenue.

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Once the City of Charlotte intervened and disallowed criminals, prostitutes, and drug

addicts/dealers from being guests, the occupancy rates at the Property dropped

considerably causing the Loan to enter into monetary default.

In addition, during the loan origination process Paine Webber identified that the Property

was located in a “blighted area” and contained several deferred maintenance issues that

needed to be addressed immediately because the Property had not undergone any

significant rehabilitation or renovation since it was built in 1958.

However, records indicate that instead of making immediate and necessary maintenance

Paine Webber demanded that the inspecting engineer revise the estimates for the deferred

maintenance reserve by roughly $90,000.00.

Paine Webber’s demand for a revised appraisal ran contrary to Paine Webber’s

representation that: “[T]he appraisal and appraiser both satisfy the requirements of the

‘Uniform Standard of Professional Appraisal Practice’ as adopted by the Appraisal

Standards Board of the Appraisal Foundation, all as in effect on the date the Mortgage

Loan was originated. See MLPA 3.2.(b)(1).

Furthermore, Paine Webber not only failed to disclose material facts about the Property,

but sought to cover them up by making representations and warranties in the Mortgage

Loan Purchase Agreement that:

a. “The Mortgage Loan Seller has not withheld any material information with
respect to the Mortgage File;” See MLPA 3.2.(a)(v);

b. “The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any

material respect.” See MLPA 3.2.(b)(i1);

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c. “The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2.(b)(xxvi); and

d. Each Mortgage Loan originated by [Paine Webber] was underwritten consistent in
all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial
mortgage conduit lending standards.” See MLPA 3.2.(b)(Ivii).

The facts Defendants misrepresented and/or omitted were material in that: (1) they

demonstrated the Borrower’s financial instability and eventual inability to make

payments on the Loan and otherwise comply with the terms of the Deed of Trust; (2) as a

result the Deed of Trust eventually went unpaid and was subject to default; and (3) the

Property securing the Deed of Trust was jeopardized and devalued.

PLAINTIFF’S CAUSES OF ACTION

FIRST CAUSE OF ACTION
Exchange Act § 10(b) (15 U.S.C. § 78j) and Rule 10b-5 (17 C.F.R. § 240.10b-5)

Plaintiff incorporates by reference the Complaint’s preceding paragraphs.

Defendants used an instrumentality of interstate commerce in connection with the
securities transaction in this case, including interstate wire transfers of funds, United
States Mail and other delivery of the COM, Prospectus and Prospectus Supplement, and
correspondence and/or telephone calls to interested purchasers, Merrill Lynch, Mermill
Lynch & Co., and ORIX.

Paine Webber in the MLPA and PaineWebber Inc. in the COM, Prospectus, and

Prospectus Supplement made misrepresentations of material fact or failed to state

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material facts that were necessary to prevent their other statements from being misleading
(“omissions”). Specifically, the Prospectus and the Prospectus Supplement
misrepresented those items set forth in this Complaint under the heading “The
Representations”. The specific loan transactions detailed in this Complaint provide
specific examples of the falsity of those representations and the materiality of the facts
misrepresented or omitted. Furthermore, Defendants failed to state that Paine Webber’s
representations and warranties were knowingly false, that Paine Webber was providing a
loan pool containing loans that it knew did not meet the representations and warranties,
or that Paine Webber had a pattern and practice of failing to follow the very underwriting
guidelines that it warranted it had followed as to individual loans.

Defendants made the misrepresentations and omissions knowingly, or with reckless
disregard for their truth or falsity. Specifically, Defendants knew that the loans detailed
above did not meet the representations and warranties, and yet provided them to the Trust
under the representations detailed above.

Plaintiff and the Certificateholders justifiably relied on Defendants’ misrepresentations
and omissions. Indeed, the only tool available for evaluating the loan pool is the
representations and warranties and the other information set forth in the Prospectus and
Prospectus Supplement. Plaintiff and the Certificateholders would not have purchased
their certificates had they known that Defendants lied about the quality of the loans in the
pool, and placed loans in the pool that Defendants knew did not meet the representations
and warranties and failed to disclose their pattern and practice of failing to follow proper

underwriting guidelines.

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During the initial offering period, the purchasers of the Certificates had no information
about the transaction structure and the loan pool other than the COM (if received), the
Prospectus, and the Prospectus Supplement. The pricing of the Certificates depended
upon the representations by the depositor of the loans that they were of a particular
quality. To the extent that the COM, Prospectus, and Prospectus Supplement
misrepresented the quality of a material loan or loans, such misrepresentation affected the
overall pool of loans and the attendant pricing of the Certificates. Thus, all purchasers of
Certificates during the Class Period suffered a similar injury through their purchase of
Certificates at artificially inflated prices, and a presumption of reliance applies.

As a direct and proximate result of such wrongful conduct, the Plaintiff and other
members of the Class were damaged in connection with their purchase of certificates
during the Class Period.

By reason of the foregoing, the Defendants violated Exchange Act § 10(b), 15 U.S.C. §
78j(b) and SEC Rule 10b-5 promulgated pursuant thereto, and are accordingly liable.

SECOND CAUSE OF ACTION
Violation of Exchange Act § 20(a) (15 U.S.C. § 78t)

Plaintiff incorporates by reference the Complaint’s the preceding paragraphs.

PaineWebber, Inc. created Paine Webber for the specific purpose of carrying out this and
similar transactions, had full ownership of Paine Webber, and shared information and
employees with Paine Webber. Similarly, PaineWebber Group Inc. created PaineWebber
Mortgage Acceptance Corporation V for the specific purpose of carrying out this and
similar transactions, had full ownership of PaineWebber Mortgage Acceptance
Corporation V, and shared information and employees with PaineWebber Mortgage

Acceptance Corporation V. PaineWebber, Inc. received and publicized through the

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COM, Prospectus, and Prospectus Supplement, information it knew or should have
known to be false, specifically: the representations and warranties, information regarding
Paine Webber’s loan origination, underwriting, and servicing, and information regarding
the Paine Webber-originated, underwritten, and serviced loan pool. PaineWebber, Inc.,
by virtue of its position, participated in and exercised control over Paine Webber and had
the power and ability to control and direct the acts and conduct complained of in this
Complaint and was aware of the omissions and misrepresentations in the COM,
Prospectus, and Prospectus Supplement. At all relevant times, the PaineWebber, Inc. had
the power and influence to control Paine Webber. By failing to take this action to correct
the conduct and misstatements of Paine Webber, PaineWebber, Inc. assisted and
participated in the fraud complained of herein.

PaineWebber, Inc., and PaineWebber Group Inc. as control persons pursuant to Section
20(a) of the 1934 Act, further are jointly and severally liable with Paine Webber and
PaineWebber Mortgage Acceptance Corporation V to the Plaintiff and other members of
the Class for violation of the 1934 Act to the full extent.

As a result, Plaintiff and other members of the Class are entitled to recover from said
Defendants the full amount for all damages to be established at trial.

THIRD CAUSE OF ACTION
Violation of Securities Act § 12(a)(2) (15 U.S.C. § 77/)

Plaintiff incorporates by reference the Complaint’s the preceding paragraphs.

Paine Webber, Inc. offered or sold the certificates by using interstate delivery services and
United States mail, by means of the Prospectus and Prospectus Supplement.

The Prospectus and Prospectus Supplement included untrue statements of material fact,

or omitted to state facts necessary in order to make the statements, in light of the

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circumstances under which they were made, not misleading. Specifically, the Prospectus
and the Prospectus Supplement misrepresented those items set forth in this Complaint
under the heading “The Representations”. The specific loan transactions detailed in this
Complaint provide specific examples of the falsity of those representations and their
materiality.

Although Plaintiff and other class members received the COM in connection with their
purchase of the certificates, the Prospectus and Prospectus Supplement accompanied the
COM, and the COM states that “[p]Jurchasers should examine all information set forth in
this memorandum, including the prospectus supplement and the prospectus, copies of
which are attached hereto as Exhibit B.” See COM at 2. Furthermore, the COM notes
that “[i]Jn the case of any discrepancy between this Memorandum or the Prospectus
Supplement...the Prospectus Supplement...shall govern,” indicating that the latter was
the actual operative offering document. See COM at 2. Thus, Defendants marketed and
sold to prospective investors the certificates as part of a coordinated integrated “public”
offering of securities for purposes of Section 12 of the Securities Act.

As a direct and proximate result of Defendant’s wrongful conduct, the Plaintiff and other
members of the Class were damaged in connection with their purchase of certificates
during the Class Period.

By reason of the foregoing, PaineWebber, Inc. violated Securities Act § 12(a)(2), 15
U.S.C. § 771, and is accordingly liable to Plaintiff and all Class members who purchased
Certificates from Paine Webber, Inc.

FOURTH CAUSE OF ACTION
Securities Act § 15 (15 U.S.C. § 770)

Plaintiff incorporates by reference the Complaint’s preceding paragraphs.

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By virtue of providing information for the COM, Prospectus, and Prospectus Supplement
that was uniquely in their control, Defendants controlled the conduct of Merrill Lynch &
Co. Specifically, Defendants provided Merrill Lynch & Co. the following information,
which is set forth with specificity above: the representations and warranties, information
regarding Paine Webber’s loan origination, underwriting, and servicing, and information
regarding the Paine Webber-originated, underwritten, and serviced loan pool.
Defendants by virtue of their positions, participated in and exercised control over Merrill
Lynch & Co. and had the power and ability to control and direct the acts and conduct
complained of in this Complaint and were aware of the omissions and misrepresentations
in the COM, Prospectus, and Prospectus Supplement. At all relevant times, the
Defendants had the power and influence to control Merrill Lynch & Co. By failing to
take this action to correct the conduct and misstatements of Merrill Lynch & Co., the
Defendants assisted and participated in the fraud complained of in this Complaint.

Similarly, by virtue of providing information for the COM, Prospectus, and Prospectus
Supplement that was uniquely in its control, Paine Webber influenced and controlled the
conduct of PaineWebber, Inc., PaineWebber Mortgage Acceptance Corporation V, and
Merrill Lynch & Co. Specifically, Paine Webber provided PaineWebber, Inc.,
PaineWebber Mortgage Acceptance Corporation V, and Merrill Lynch & Co. the
following information, which is set forth with specificity above: the representations and
warranties, information regarding Paine Webber’s loan origination, underwriting, and
servicing, and information regarding the Paine Webber-originated, underwritten, and
serviced loan pool. Paine Webber by virtue of its position, participated in and exercised

control over PaineWebber, Inc., PaineWebber Mortgage Acceptance Corporation V, and

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Merrill Lynch & Co. and had the power and ability to control and direct the acts and
conduct complained of in this Complaint and was aware of the omissions and
misrepresentations in the COM, Prospectus, and Prospectus Supplement. At all relevant
times, Paine Webber had the power and influence to control PaineWebber, Inc.,
PaineWebber Mortgage Acceptance Corporation V, and Merrill Lynch & Co. By failing
to take this action to correct the conduct and misstatements of PaineWebber, Inc.,
PaineWebber Mortgage Acceptance Corporation V, and Merrill Lynch & Co., Paine
Webber assisted and participated in the fraud complained of in this Complaint.
Defendants, as control persons pursuant to Section 15 of the 1933 Act, further are jointly
and severally liable to the Plaintiff and other members of the Class for violation of the
1933 Act to the full extent.
As a result, Plaintiff and other members of the Class are entitled to recover from said
Defendants the full amount for all damages to be established at trial.

REQUEST FOR RELIEF

Wherefore, Plaintiff prays that Defendants be cited to appear and answer, and that

Plaintiff, upon hearing, have judgment against Defendants as follows:

1,

For rescission of Plaintiff’s investment in the Certificates, or in the alternative, for actual
damages at least in the amount of $616,668,000.

For Plaintiff's reasonable attorneys’ fees and costs from this action.

For all interest as determined by applicable law.

For all costs of Court and suit.

For any other relief to which Plaintiff is entitled.

PLAINTIFF DEMANDS A TRIAL BY JURY.

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Dated: October 10, 2002.

Respectfully submitted,

AKIN GUMP STRAUSS HAUER & FELD, LLP

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Mary L. O’Connor

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